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UNITED STATES DISTRICT COURT                       ,iUSDCSDNY
SOUTHERN DISTRICT OF NEW YORK                      ,'DOCUMENT
------------------------------------x
ERIC LAPRAIRIE, on behalf of
himself and all other employees
similarly situated,

                        Plaintiff,

    -against-
                                                  No. 21 Civ. 8795 (JFK)
PRESIDIO, INC. PRESIDIO HOLDINGS
INC., PRESIDIO LLC, PRESIDIO                                ORDER
NETWORKED SOLUTIONS LLC, PRESIDIO
NETWORKED SOLUTIONS GROUP, LLC, and
PRESIDEIO TECHNOLOGY CAPITAL, LLC,

                    Defendants.
------------------------------------x

JOHN F. KEENAN, United States District Judge:

     The Court accepts jurisdiction in the above captioned case,

which the parties have agreed to transfer from the Western

District of New York to the Southern District of New York.

SO ORDERED.

Dated:    New York, New York
          November;----, 2021


                                          United States District Judge
